Case 5:22-mj-00965-ESC Document 1 Filed 06/28/22 Page 1 of 4



                                                            FILED
                                                          June 28, 2022
                                                     CLERK, U.S. DISTRICT COURT
                                                     WESTERN DISTRICT OF TEXAS

                                                           Crystal Dunford
                                                  BY: ________________________________
                                                                          DEPUTY
          Case 5:22-mj-00965-ESC Document 1 Filed 06/28/22 Page 2 of 4




                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

1.     I, Affiant, Bryan Smith, am a Task Force Officer with the Drug Enforcement
Administration (DEA) at the San Antonio District Office and have been so since 2012. I have
been employed with the Bexar County Sheriff’s Office since February 2003. In 2010, I was
assigned to the Bexar County Narcotics Unit and in 2012 to the present, I have been assigned to
the DEA San Antonio District Office as a Task Force Officer. I am a Bexar County Deputy Sheriff
who has been deputized by the Drug Enforcement Administration as Task Force Officer which
allows me to enforce state and federal laws primarily pertaining to narcotics related investigations
and/or violations. I have made numerous State and federal arrests for narcotics related violations
which have resulted in successful prosecutions.

2.      I have worked on numerous investigations and assisted other federal, state, and local law
enforcement agents and officers in their investigations on cases involving violations of Title 21,
United States Code, Section 841(a)(1), the manufacture of, distribution of and possession with
intent to distribute controlled substances and Title 21, United States Code, Section 846, conspiracy
to commit the foregoing. Specifically, those investigations have focused on the manufacture and
distribution of marijuana, methamphetamine, heroin, pharmaceutical pills, and cocaine. I am
familiar with, and have participated in, all of the conventional investigative methods, including,
but not limited to, electronic surveillance, visual surveillance, questioning of witnesses, search
warrants, confidential informants, pen registers, trap and trace, and the use of undercover
agents. Through my training and experience, I have become acquainted with the identification of
various controlled substances. I have also become acquainted with the various methods used by
individuals to possess, transport, and sell controlled substances in violation of federal law.

3.       During the course of being a Narcotics Investigator and DEA Task Force Officer, I have
participated in numerous investigations of illicit drug trafficking organizations. These
investigations involved the use of confidential informants, wire and physical surveillance,
telephone toll analysis, investigative interviews, and the service of search and arrest
warrants. These investigations included the unlawful importation, possession with intent to
distribute, and distribution of controlled substances, as well as the related laundering of monetary
instruments, the conducting of monetary transactions involving the proceeds of specified unlawful
activities, and conspiracies associated with criminal narcotics offenses, in violation of Title 21,
United States Code, §§ 841(a)(1) and 846.


FACTS OF ARREST:

4.     On June 27, 2022, Bexar County Sheriff Deputy Andrew Delgado was patrolling the area
of IH37 South and Hwy 181, San Antonio, Texas while in full uniform and operating a marked
Bexar County Sheriff patrol unit. Deputy Delgado initiated a traffic stop on the driver of a black
Volkswagen sedan in the area of IH37 South and Southton Rd for traffic violations. Deputy
Delgado made contact with the driver and only occupant identified as David TORRES-
                                                 1
          Case 5:22-mj-00965-ESC Document 1 Filed 06/28/22 Page 3 of 4




SANCHEZ. During the course of the traffic stop, Deputy Delgado conducted the road side
interview with TORRES-SANCHEZ in Spanish as a body worn camera video recorded. As the
interview ensued, Deputy Delgado received consent to search the vehicle from TORRES-
SANCHEZ. While searching the Volkswagen sedan, an open Amazon package was located on the
front passenger seat. Deputy Delgado felt the open Amazon package to be “crunchy” and smelt an
odor of chemicals and/or gasoline. Upon further inspection of the packaging, Deputy Delgado
recovered two (2) clear plastic Ziploc bags each containing crystal methamphetamine from inside
the Amazon package. Deputy Delgado took TORRES-SANCHEZ into custody at that time and
placed TORRES-SANCHEZ in the back seat of the patrol unit. The crystal methamphetamine had
a gross approximate weight of 1.5 kilograms.

5.      Due to the amount of narcotics recovered, TFO Bryan Smith was dispatched to the location
of the traffic stop. TFO Smith made contact with Deputy Delgado and received the details of the
traffic stop/arrest. TFO Smith directed Deputy Delgado to Mirandize TORRES-SANCHEZ in
Spanish. TORRES-SANCHEZ stated he understood his rights and TFO Smith conducted an
interview with TORRES-SANCHEZ as Deputy Delgado translated. During the course of the post
Miranda interview, TORRES-SANCHEZ stated that he had two (2) firearms at his residence. TFO
Smith requested permission from TORRES-SANCHEZ to recover the firearms from the residence.
TORRES-SANCHEZ agreed and provided written and verbal consent to search his residence
located in the 600 block of Mauerman Rd, San Antonio, Texas.

6.      TORRES-SANCHEZ was transported to his residence where the consensual search was
conducted. During the search, TORRES-SANCHEZ pointed out two (2) firearms that were
recovered inside a plastic bin located in the closet attached to the kitchen. The firearms are
described as (1) Taurus, Model PT 24/7 Pro, .40 caliber, semi-automatic pistol bearing serial#
SAV22659 with a loaded magazine and (2) Taurus, Model PT100 AF, .40 caliber, semi-automatic
pistol bearing serial# SAM90607 with a loaded magazine.

7.     TORRES-SANCHEZ was asked if there was any additional narcotics, firearms, or bulk
drug proceeds at the residence. TORRES-SANCHEZ led TFO Smith to a refrigerator in the
backyard of the residence. Upon opening the freezer section of the refrigerator, TFO Smith
observed numerous open/torn gallon sized plastic Ziploc bags with a strong odor of chemicals
emitting from them. TFO Smith recognized the odor to be that which is consistent with
methamphetamine. On the door of the freezer, TFO Smith recovered a clear Ziploc bag that
contained approximately 77.3 grams of crystal methamphetamine.

8.     As the consensual search continued, TORRES-SANCHEZ led TFO Smith to the front left
bedroom which TORRES-SANCHEZ stated belonged to him. TORRES-SANCHEZ pointed out
a rectangular box that was on top of a shelf inside the bedroom closet. Upon opening the
rectangular box, TFO Smith recovered a clear gallon sized Ziploc bag containing approximately
302.9 grams of cocaine.

9.    At the conclusion of the consensual search, TORRES-SANCHEZ was transported to the
Bexar County Jail for processing, pending transfer to a federal holding facility. According to
TORRES-SANCHEZ he is in the United States illegally and is a citizen of Mexico.



                                               2
Case 5:22-mj-00965-ESC Document 1 Filed 06/28/22 Page 4 of 4
